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  U r'\ i 0 S~-kJ                Os+n-c ~      Covr-+
          (k,.J,;c+ o~ V·tn''"'~vt+
                                                                                 CL EJ1K
     G~rvu;s ,                                                    ~  BY_
       TN_ ~                r    ~'is~ f/u_,.e_ ho? ~ri~£t'i:ip:m
                                                             ~rr-vy}""=-:L:--
                                                                      1~     -- .
    ~!Livt        vs    OfJl
    I ~ rrf-s ntt~se.-~ .fu cffo~ fl,r-r ~N-¥71- ~ fk
 .fofbv--~ .~SC1-1J       }rf5f- .· fha..f f1u.. frvr.cwz cral rekc.~ ~- n unAr.--1
  VVh''(c.scrn.<~blt_ w ~v-<ttrk . .$ecoVId : Or)} ~"'d. 0r'YlS r'U.Q.d._ fo ~
  '('{~d 1v--. 'lvtcA Che-n~               fAR_    t-vevy   fha_y   ~ b~.&,Vl<S5 . 50 fk_i Ccwd·
   Kta..p   e-n        ~..;¥ln':'vtJ' (;ou;h-5h-dj ~v a/1 d~vy ~..-~.s .
    :£+ -fh :s           s.e.ffit.~Vl /- 9o~s        1/vcv,.t,       i~l(      tA'i}(       9ef .Jkrr   fot,.'YW-f

 bcuc.~     M 0 j/rtc;-.rf-     +r'r'JI\t ~u7A r'Vl;Jh Qiue-k. cl.id.vdr<-1'15 c~"Ch                    M   he.,(.
 f\. o {-'()V-(. v     OV44)    Ortol   flu wr ~   \M l (   b.t.    Yb> c_ ~ c.-e. 1-r:, Covv-ccf- ~ 1'>'\

 4h~h +~ p~G~ 0tt~) In flu. stffl.twu.,l
 ~5 cks~~ct4</y YLlQ_dS ~ k icJ<eh /o Ccvr+ ~ fk Sc..~
D\- 1-kt. ~e. of dMIA( ~~~m..~ Ct~.ribvSttv..S5-eS 1 QvtcJ. Ot~v ~N.c.sf­
                                                      1


f'vrot (      (omrn...YiitttS,

      W.t_     c.~        i1,mdv ~VVV' ~ <Jen;ihc~"'~f f?avrsylV<irt~.
                         c... :Smq_/(
Ovv 5Cql£ ~f'Vl--5 ~-too <crv-s) o~ IV\ J.ee:>fc..relv i& Q ~14'1+
IT~ OP-Ji /OmS ~Itt.. sc c/r;.t;m_io k a. &~.s co-op tv~c,h +kev a.rl: r~~t)            1


 cQV\. rvII ~ S-t HkW'U\:1 h~ +k..--s +~,~ Yho v+ OffoSIIi'-ry ?         lN'


                        S F'Y!c~ It 0. W. l~p - ~~ ly.
